
CULPEPPER, Judge.
For the reasons stated in the companion case of State of Louisiana, Through Department of Highways v. Lamar Advertising Company of Louisiana, Inc., 304 So.2d 779, in which a separate decision has been rendered by us this date, the judgment appealed herein is reversed and set aside.
It is now ordered, adjudged and decreed that there be judgment herein in favor of the plaintiff overruling defendant’s exception of prematurity. This case is remanded to the district court for further proceedings in accordance with law and the views *792expressed herein. All costs of this appeal are assessed against the defendant appellee.
Reversed and remanded.
DOMENGEAUX, J., dissents for reasons in # 4736.
